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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA

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                     REPORT AND RECOMMENDATION
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United States of America,

                         Plaintiff,

      vs.

Vanessa Marie Sagataw,

                         Defendant.              Crim. No. 09-126(06)(DWF/RLE)

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                                  I. Introduction

      This matter came before the undersigned United States Magistrate Judge

pursuant to a general assignment, made in accordance with the provisions of Title 28

U.S.C. §636(b)(1)(B), upon the Motion of the Defendant Vanessa Marie Sagataw to

Suppress Evidence Obtained from Wire Taps, see, Docket No. 140, and her Motion

to Suppress Search and Seizure of Evidence. See, Docket No. 138. A Hearing on the

Motions was conducted on August 17, 2009, at which time, the Defendant appeared

personally, and by Derk K. Schwieger, Esq., and the Government appeared by Steven
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L. Schleicher, Assistant United States Attorney. For reasons which follow, we

recommend that the Defendant’s Motions to Suppress be denied.

                                   II. Discussion

      The Defendant is charged in a one-Count Superseding Indictment with a

Conspiracy to Distribute and to Possess, with the Intent to Distribute, five hundred

(500) grams or more of a mixture and substance containing a detectable amount of

cocaine, a controlled substance, and fifty (50) grams or more of cocaine base

(“crack”), a controlled substance, in violation of Title 21 U.S.C. §§841(a)(1), 841(b)

(1), and 846.

      By these Motions, the Defendant seeks to suppress evidence which was

gathered in a Court-authorized wire tap on the residential telephone of her co-

Defendant, and spouse, Marcus James Neadeau (“Neadeau”), as well as the evidence

obtained during a search of the residence, which she shared with Neadeau, that was

pursuant to a Federal Search Warrant. At the time of the Hearing, defense counsel

advised that the Defendant would primarily rely upon the Record that was amassed

in the Hearing on Neadeau’s Motion to Suppress the Wire Tap Evidence, as

augmented by counsel’s supplemental questioning of Timothy J. Mellor (“Mellor”),

who is a Special Agent with the Drug Enforcement Administration. As for the Motion

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to Suppress Search and Seizure of Evidence, defense counsel advised that the

Defendant was challenging the Search Warrant on its four-corners, and would not be

offering any evidence apart from that admitted during the paralleling Motion to

Suppress of Neadeau.

      The Government joined the Defendant in relying upon the previous Record, that

was developed at the Suppression Hearing of Neadeau, as to each of the Defendant’s

Motions to Suppress. We address the Suppression Motions separately.

      A.     The Defendant’s Motion to Suppress Evidence Obtained from Wire Tap.

             Defense counsel’s questioning of Mellor focused upon the recordings of

the Defendant’s exchanges with Neadeau, as captured by the authorized wire tap. In

particular, counsel intimated, during the questioning, that the recorded conversations

were sometimes longer than two (2) minutes, and sometimes related to domestic

differences that the Defendant and Neadeau were then experiencing in their

relationship. While Mellor acknowledged that, on occasion, a recorded telephone

conversation would exceed the two (2) minute limit for determining its relevance, and

that some conversations between Neadeau and the Defendant were animated, he

maintained that the law enforcement officials, who were conducting the wire tap,

adhered to the minimization procedures that had been approved by the District Court,

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the Honorable Michael J. Davis, Chief Judge, presiding. Notably, the Defendant did

not proffer any evidence that any particular telephone recording violated the District

Court’s authorization, inclusive of the minimization constraints.

       In addition, the Defendant questioned Mellor on the necessity for a wire tap,

and as to the exhaustion of other investigative techniques, and suggested, in the

questions from her counsel, that there was no objective evidence to show that the Red

Lake Indian Reservation was a “closed community.” In response, Mellor averred that

undercover agents were not available to the investigation as the allegedly conspiring

drug dealers knew their purchasers, and that the usual techniques in investigating drug

trafficking were not available in the environment on the Reservation.1 He also attested

that, while the Defendant was not a specific target of the wire tap, her voice had been

recognized by the monitoring officers in the recordings that were made. As a result,

while the probable cause for the wire tap was drawn from Neadeau’s activities, the




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    Defense counsel inquired as to why undercover agents of color were not employed
in the investigation so as to secure evidence that might be denied to a Caucasian who
attempted to work undercover. In response, Mellor identified Michael Aalto
(“Aalto”), who is a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and
Explosives, as a non-Caucasian who was assigned to the investigation, but who did
not attempt to function as an undercover agent, given the practice of the alleged
conspirators to sell drugs only to persons they knew.

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telephone being tapped was the residential phone being used by both the Defendant,

and Neadeau.

      Notwithstanding the Supplemental Record, we have no evidence that would

question, let alone undermine, our previous analysis of the Court-authorized wire tap.

The Defendant offers no evidence that the authorization of the Court was violated, or

that the investigating officers failed to adhere to the minimization practices that were

required of them. We continue to find that the officers had exhausted all other means

of investigating the drug trafficking activities, given the closed nature of the Red Lake

Indian Reservation, and that the officers honored their obligation to minimize the

recording of telephone conversations that were not relevant. Nothing the Defendant

offers make any competent showing to the contrary.

      Since we conclude that no useful purpose would be furthered in reiterating the

detailed analysis we previously expended on the wire tap evidence, see, Report and

Recommendation of June 16, 2009, Docket No. 92 (“R&R”), at pp. 2-16, and 24-30,

adopted, Order of July 13, 2009, Docket No. 100, and nothing the Defendant now

offers impeaches our prior findings and conclusions, we recommend that the

Defendant’s Motion to Suppress Evidence Obtained from Wire Taps be denied.




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      B.     The Defendant’s Motion to Suppress Search and Seizure Evidence.

             The only new challenge to the Search Warrant, that the Defendant voices,

is that she was not the target of the Search Warrant. Although not clearly articulated,

it appears that the Defendant is arguing that, notwithstanding the existence of a valid

Search Warrant, as we have previously found, see, R&R, supra at pp. 16-24, and 30-

40, she maintained a reasonable expectation of privacy in her home, and any evidence

secured against her, in the warranted search, should be suppressed. She offers no

authority for that position, and we find no merit in the argument.

      In United States v. Risse, 83 F.3d 212 (8th Cir. 1996), the police had a Warrant

for the arrest of a Rhoads, who was cohabitating with Risse. When Risse opened his

front door in response to the officers’ knock, they inquired whether Rhoads was at

home, and “Risse motioned toward Rhoads and stated, “She’s standing right there.”

Id. at 214. The officers then entered the home to effect Rhoads’ arrest, during which

time they observed, in plain sight, some marijuana and drug paraphernalia. In an

attempt to conceal the contraband, Risse struggled with the officers and was

subsequently arrested for interference with official acts, and for possession of the

marijuana. Id. Based upon their observations, the officers secured a Warrant for the

residence, which uncovered more marijuana, marijuana paraphernalia, several guns,

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two scales, and cash, which Risse sought to suppress on the ground that the officers

first search and seizure was without a valid Search Warrant. Id.

      In rejecting Risse’s argument, the Court reasoned as follows:

             A valid arrest warrant carries with it the implicit but limited
             authority to enter the residence of the person named in the
             warrant in order to execute that warrant. See Payton v.
             New York, 445 U.S. 573, 603, 100 S.Ct. 1371, 1388-89, 63
             L.Ed.2d 639 (1980). However, absent exigent circum-
             stances or consent, an arrest warrant does not justify entry
             into a third person’s home to search for the subject of the
             arrest warrant. See Steagald v. United States, 451 U.S. 204,
             215-16, 101 S.Ct. 1642, 1649-50, 68 L.Ed.2d 38 (1981).

             Thus, “if the suspect is just a guest of the third party, then
             the police must obtain a search warrant for the third party’s
             dwelling in order to use evidence found against the third
             party.” United States v. Litteral, 910 F.2d 547, 553 (9th Cir.
             1990). However, “if the suspect is a co-resident of the third
             party, then Steagald does not apply, and Payton allows both
             the arrest of the subject of the arrest warrant and use of
             evidence found against the third party.” Id.; see also,
             Washington v. Simpson, 806 F.2d 192, 196 (8th Cir.
             1986)(when subject of arrest warrant is a co-resident with
             third party, officers may enter residence of the third party
             without search warrant).
Id. at 215-16.

The Court went on to note that, “where a homeowner allows another person to possess

common authority over, or some other significant relationship to, the premises to be

searched, the homeowner is held to have a lower expectation of privacy in the

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searched area.” Id. at 216 n. 3, citing United States v. Matlock, 415 U.S. 164, 171

(1974).

      “There is no reasonable expectation of privacy in such a situation because the

person’s privacy ‘[is] contingent in large measure on the decisions of another,’ and

‘[d]ecisions of either person define the extent of privacy involved, a principle that

does not depend on whether the stranger welcomed into the house turns out to be an

agent or another drug dealer.” Id., quoting United States v. Chaidez, 919 F.2d 1193,

1202 (7th Cir. 1990), cert. denied, 502 U.S. 872 (1991). Like Risse, the Defendant had

no reasonable expectation of privacy in her home, given the probable cause presented

in support of the Search Warrant, that was predicated on the allegedly criminal acts

of her cohabitant, Neadeau. Accordingly, the officers presence in her home was

Court-authorized, and if the officers found incriminating evidence as to the Defendant,

they were properly empowered to seize that evidence. Accordingly, we reject the

Defendant’s argument as unsound, and we recommend that the Defendant’s Motion

to Suppress Search and Seizure Evidence be denied.

      NOW, THEREFORE, It is --




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      RECOMMENDED:

      1.     That the Defendant’s Motion to Suppress Evidence Obtained from Wire

Tap [Docket No. 140] be denied.

      2.     That the Defendant’s Motion to Suppress Search and Seizure Evidence

[Docket No. 138] be denied.



Dated: August 18, 2009                        áBetçÅÉÇw _A XÜ|v~áÉÇ
                                              Raymond L. Erickson
                                              CHIEF U.S. MAGISTRATE JUDGE


                                     NOTICE

      Pursuant to Rule 45(a), Federal Rules of Criminal Procedure, D. Minn.

LR1.1(f), and D. Minn. LR72.2(b), any party may object to this Report and

Recommendation by filing with the Clerk of Court, and by serving upon all parties by

no later than September 4, 2009, a writing which specifically identifies those

portions of the Report to which objections are made and the bases of those objections.

Failure to comply with this procedure shall operate as a forfeiture of the objecting

party's right to seek review in the Court of Appeals.




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      If the consideration of the objections requires a review of a transcript of a

Hearing, then the party making the objections shall timely order and file a complete

transcript of that Hearing by no later than September 4, 2009, unless all interested

parties stipulate that the District Court is not required by Title 28 U.S.C. §636 to

review the transcript in order to resolve all of the objections made.




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